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STATE OF TENNESSEE
DEPARTMENT OF ENVIRONMENT AND CONSERVATION
KNOXVILLE ENVIRONMENTAL FIELD OFFICE
DIVISION OF WATER RESOURCES — MINING SECTION
3744 MIDDLEBROOK PIKE
KNOXVILLE, TENNESSEE 37921-6538
PHONE (865) 594-6035 STATEWIDE 1-888-891-8332 FAX (865) 594-6105

September 21, 2020

Mr. Jay Justice II

CEO

Southern Coal Company
302 8. Jefferson St.
Roanoke, VA 34011

Mr. Bill Johnson

Chief Compliance Officer
Premium Coal Company, Inc.
National Coal, LLC

P.O. Box 2178

Beaver, WV 25813

Via U.S. Mail and E-mail -

RE: STATUS OF EXPIRED NPDES PERMITS

 

County Permit Company Name Project Name
number
Campbell | TN0079570 Premium Coal Company, Inc. Mine 20
Anderson | TN0071307_ | Premium Coal Company, Inc. Area 18
Anderson | TN0079308 | Premium Coal Company, Inc. Mine 4
Anderson |TN0076368 | Premium Coal Company, Inc. Refuse Area #3
Anderson | TN0063592 | Premium Coal Company, Inc. Refuse Area #2
Anderson {| TN0052965 | Premium Coal Company, Inc. Mine 17
Anderson | TN0069159 | Premium Coal Company, Inc. Mine 5A
Anderson | TN0079529 | Premium Coal Company, Inc. Area 19

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Scott TNO0071803 | National Coal, LLC Deep Mine 8
Scott ™N0072729 | National Coal, LLC Deep Mine 9
Campbell TNO0076180 | National Coal, LLC Deep Mine 10

 

 

 

 

Dear Messrs. Justice and Johnson:

The above referenced NPDES permits in Tennessee are presently expired. ‘The Division of
Water Resources (the Division) recently conducted inspections at these facilities. Based upon
the inspection findings and a review of water quality data, the Division has determined that

 

 

 

 
 

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Southern Coal Company
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the following facilities are sufficiently stable to protect water quality and do not require
NPDES permit coverage at this time. ,

 

 

 

 

 

County Permit Permittee Project Name
Scott TN0071803 | National Coal, LLC Deep Mine 8
Scott TN0072729 | National Coal, LLC Deep Mine 9
Campbell | TN0076180 National Coal, LLC Deep Mine 10
Anderson | TN0076368 | Premium. Coal Company, Inc __| Refuse Area #3

 

 

Anderson |'TN0079308 Premium Coal Company, Inc, Mine 4
Anderson |'TN0071307 | Premium Coal Company, Inc. | Area 18
Anderson | TN0052965 | Premium Coal Company, Inc, | Mine 17 _
Anderson | TN0079529 Premium Coal Company, Inc. Area 19

 

 

 

 

 

 

 

 

 

Based upon the inspection findings and a review of water quality data, the Division has
determined that the following facilities are not sufficiently stable to protect water quality and
require additional stabilization measures:

 

County Permit Permittee Project Name
Anderson | TN0063592 | Premium Coal Company, Inc, | Refuse Area 2
Anderson | TN0069159 Premium Coal Company, Inc. Mine 5A
Campbell | TN0079570 Premium Coal Company, Inc. Mine 20

 

 

 

 

 

 

 

 

 

The required stabilization measures for these facilities include:

Premium Coal Refuse Area 2 (TN0063592)

» Vegetate or stabilize the storage area.

e Repair or remove the failed stream crossing at Slatestone Creek. Please note that a
separate Aquatic Resource Alteration Permit (ARAP) may be required.

Premium Coal Mine 5A (1N0069159)
e Re-slope and vegetate or otherwise stabilize or reclaim the highwall area.

e Vegetate the staging area.

Premium Coal Mine 20 (1N0079570)
© Regrade and vegetate or otherwise stabilize or reclaim the highwall area.

e Vegetate the spoil arca.

The Division is in receipt of incomplete applications for NPDES permits for the above
referenced facilities. You may submit a reguest to withdraw these applications to the Mining
Section at 3711 Middlebrook Pike, Knoxville, TN 37921 or TDEC.Mininge@in.gov.

No further action, aside from the above-mentioned stabilization measures and withdrawal of
applications, is required at this time. The Division understands that full reclamation may be

 

 

 

 

 
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required for these facilities under the Surface Mining Control and Reclamation Act (SMCRA)
permit. If future reclamation activities will require significant ground disturbance and earth
moving (greater than 5 acres), discharges of storm water from the reclamation areas may be
permitted under Tennessee Storm Water Multi-Sector General Permit (TMSP) Sector AE.
This is a general NPDES permit which requires annual monitoring and the implementation of
a Storm Water Pollution Prevention Plan (SWPPP). The TMSP permit would only be required
while reclamation work is ongoing and until stability of the site is achieved. All future
reclamation activities, regardless of disturbed area, must utilize proper sediment & erosion
controls to prevent pollution to Waters of the State. Please bear in mind, regardless of whether
or not these sites are required to have an NPDES permit, they may not cause a condition of

pollution to waters of the state of Tennessee in violation of T.C.A. § 69-3-114. Documented
instances of pollution to waters of the state will subject the responsible party to enforcement

action.

If you have questions, please contact Daniel Lawrence at (865) 594-5543 or

Daniel.Lawrence@tn.gov.

Sincerely,

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Bryan W. Epperson, Mining Unit Manager
Mining Section
Division of Water Resources

ce: Knoxville Mining Section

e-copy Wilson Buntin, Tennessee Attorney General’s Office
e-copy Stephane Durman, Office of Genera! Counsel

e-copy TDEC Compliance & Enforcement

e-copy Melissa Raack, USEPA

e-copy Patrick M. Casey, US DOJ

e-copy Mike Castle, OSMRE

e-copy Mark Snyder, OSMRE
